      Case 3:20-cv-00068-DPM Document 24 Filed 09/25/20 Page 1 of 1



             IN THE UNITED ST ATES DISTRICT COURT
                EASTERN DISTRICT OF ARKANSAS
                      NORTHERN DIVISION

EBONEE JACQUESE BELL
ADC #711204                                                   PLAINTIFF

v.                       No. 3:20-cv-68-DPM

KERRI KOCOUREK,
Director, Think Legacy Program                              DEFENDANT

                                ORDER
     The     Court adopts    Magistrate Judge         Volpe' s unopposed
recommendation, Doc. 23.      FED.   R.   CIV.   P. 72(b) (1983 addition to
advisory committee notes). Kocourek' s motion for summary judgment,
Doc. 20, is granted.    Bell's complaint will be dismissed without
prejudice.
     So Ordered.

                                 D.P. Marshal};_
                                 United States District Judge
